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 9
                                 UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,          )                No. 2:08-cr-00427 MCE
13                                      )
                                        )
14                  Plaintiff,          )
                                        )                STIPULATION TO CONTINUE
15        vs.                           )                SENTENCING
                                        )
16   SHUSHANIK MARTIROSYAN,             )
                                        )
17                                      )
                    Defendant.          )
18   __________________________________ )

19

20          For the reasons set forth in the parties’ stipulation, IT IS

21   ORDERED that the sentencing of defendant SHUSHANIK MARTIROSYAN, is

22   continued from July 21, 2011 9:00 a.m. to October 13, 2011 at 9:00

23   a.m.

24   Dated: July 15, 2011

25                                          _______________________________________
26                                          MORRISON C. ENGLAND, JR.
                                            UNITED STATES DISTRICT JUDGE
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